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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 MAVERICK GAMING LLC,

                  Plaintiff,

         v.                                            Civil Action No. 22-cv-68 (FYP)

 UNITED STATES OF AMERICA, et al.,

                  Defendants.



                                             ORDER

        Upon consideration of the State Defendants’ [31] Motion to Stay Proceedings and the

State Defendants’ [38] Reply reflecting the agreement of the parties, it is hereby

        ORDERED that the State Defendants’ Motion to Stay Proceedings is GRANTED; and it

is further

        ORDERED that the deadlines for all Defendants to respond to the [1] Complaint are

stayed; and it is further

        ORDERED that this stay shall remain in place until resolution of the State Defendants’

[30] Motion to Transfer Venue and Plaintiff’s [35] Motion for Leave to File First Amended

Complaint and to Drop the Washington State Defendants; and it is further
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       ORDERED that upon expiration of the stay, all remaining parties shall meet and confer

to set deadlines for responding to the then-operative complaint and for briefing dispositive

motions.

       SO ORDERED.




                                             FLORENCE Y. PAN
                                             United States District Judge

Date: March 16, 2022




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